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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Natasha Nunn−Paige, et al.
                                      Plaintiff,
v.                                                     Case No.: 1:19−cv−02352
                                                       Honorable Virginia M. Kendall
United States of America, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 15, 2019:


        MINUTE entry before the Honorable Virginia M. Kendall. Initial Status hearing
held on 5/15/2019. By agreement of parties, Plaintiff's oral motion to remand the case to
state court is granted. The Clerk of Court is directed to remand the case to the Circuit
Court of Cook County, Illinois forthwith. Defendants' Motions to Dismiss [4] and [16] are
dismissed as moot. Mailed notice(lk, )




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